           Case 1:20-vv-01372-UNJ Document 48 Filed 08/19/22 Page 1 of 7




     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1372V
                                          UNPUBLISHED


    LAURA SHEVLIN,                                              Chief Special Master Corcoran

                         Petitioner,                            Filed: July 13, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Jimmy A. Zgheib, Zgheib Sayad, P.C., White Plains, NY, for Petitioner.

Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
Respondent.


                                DECISION ON JOINT STIPULATION 1

        On October 13, 2020, Laura Shevlin filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges she suffered a Table Injury – Shoulder Injury Related to
Vaccine Administration (SIRVA) – as a result of her October 10, 2018 influneza (“flu”)
vaccination. Petition at 1; Stipulation, filed July 12, 2022, ¶¶ 1-2, 4. Petitioner further
alleges the vaccine was administered within the United States, that she suffered the
residual effects of her injury for more than six months, and that there has been no prior
award or settlement of a civil action on her behalf as a result of her injury. Stipulation at
¶¶ 3-5; see Petition at ¶¶ 4, 32-34. “Respondent denies that [P]etitioner suffered the onset
of her alleged SIRVA within the Table timeframe; denies that the flu vaccine caused
[P]etitioner's alleged shoulder injury or any other injury and further denies that her current
disabilities are a sequela of a vaccine-related injury.” Stipulation at ¶ 6.
1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:20-vv-01372-UNJ Document 48 Filed 08/19/22 Page 2 of 7




       Nevertheless, on July 12, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $105,506.31 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

                                                    2
Case 1:20-vv-01372-UNJ Document 48 Filed 08/19/22 Page 3 of 7
Case 1:20-vv-01372-UNJ Document 48 Filed 08/19/22 Page 4 of 7
Case 1:20-vv-01372-UNJ Document 48 Filed 08/19/22 Page 5 of 7
Case 1:20-vv-01372-UNJ Document 48 Filed 08/19/22 Page 6 of 7
Case 1:20-vv-01372-UNJ Document 48 Filed 08/19/22 Page 7 of 7
